!^\Y0 V>0\A Ji>iUrir'^Vv'i\4-v>cJ\M ->^0- V\                                 -0>Ar)
           -vo               >w oai. /o ^.,c•\^ s                           'cVrN
                                       VoviN
                  (PV>5 VajL>w\ V oi.. V.OVIN-JV'^ SV-\|\ -\o
                                             TW^WTFW^
  \;Y^yv\ 4>:v,vu:>\aVj;\ -9^
                          -4lL S.s^w>\. ^ o\         ^/v\ ?/AN\v\aJ,
                                          Qt^. w">A:i34rv\           q\, -:x.Wj'
      w=T^<-
~?^-?-V cV'^Ll- s\ OV^i)
         ™u (j)(j^)x=5V'a^'N "^S'l^
V9^N^ow\Vv> >5^^
                                       •n>THL"^"'^b^
                              r-'-xy^ ^^\\ \>^
^rnrn n r^r^rs-^ _ j-^ orv=r"^TTF^r^'5Yrr(>r~5W~'^rn'V'Wr'~:S7^KKrTr^r^ %)-j\ \
     -SQ^QT                                __^              ^                i=i
     >vvvAS.\CA   o\   vo^                     M5^lW57o
                               i.
    •m
                                        SHsCp
                                                 S\\A XO JTfCTwN
                                       VT1<^         W:)U.N(0\KD'
          SV»d.-USaT-"'-i"V                                          vwnjoioiai       IQ
                                                                    ^#ie)             ffi
                                                                                  a^i> 81111
                                                                     Ob € Wd 6-
                                                                                      34U-
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                 oru?r         YV Q'

             \OMNL         9b:^\A:»Wr \V-^                  vyxW^:-^ wi\v;V
                         5s<ir\/vVo.       cl 'sfve   ^
                                             \K rL Vnf\vvr fp^soek toscs^
                               c^\ Km.fS \S Vi^WYvr.

 VWxJc^ Kf nvr A'N-Vr^\
              cV Q^ \\r .--„,
                        fVo^Sv         - ., ••\;V<^S.^ vi2A.-~^'^VS Coy
                     N5; O.V/V c                             k
                                           Sv^ )D\vO'^P^_ KAcM^w

                                         x^,Ain vn        Pw-T-^-ws. gy       0^

              Vb^>jcinc-tA^ \i\M\cy\ a'A-sg^ Wxcv^c^
            Nc^Vi |y\ik                      ;^aAvc
                     ^             '"kV i^aToA<^


     -ixW                    xj^ ^iim
                   vvv-i. gi li'A

                   }Ak
